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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 STATE FARM FIRE AND CASUALTY                   )
 COMPANY, as subrogee of TALUS                  )
 PROPERTIES, INC., and MELROSE                  )
 MIDTOWN, LLC,                                  )
                                                )
         Plaintiff,                             )     Case No. 2:19-cv-2330-JPM-cgc
                                                )
 TALUS PROPERTIES, INC. and                     )
 MELROSE MIDTOWN, LLC                           )
                                                )
         Intervening Plaintiffs,                )
                                                )
 v.                                             )
                                                )
 JOSE ALFREDO SANDOVAL,                         )
                                                )
         Defendant.                             )


      ORDER DENYING MOTION FOR LEAVE TO FILE AMENDED COMPLAINT



        This Cause is before the Court on Plaintiff State Farm Fire and Casualty Company’s

filing of its Amended Complaint on April 6, 2020. (ECF No. 31.) Federal Rule of Civil

Procedure 15(a)(2) provides, “[A] party may amend its pleading only with the opposing

party’s written consent or the court’s leave. The court should freely give leave when justice

so requires.” An amended complaint filed without leave is a legal nullity and has no effect.

See United States ex rel. Mathews v. HealthSouth Corp., 332 F.3d 293, 296 (5th Cir. 2003).


        Defendant filed its Answer to Plaintiff’s Complaint on August 12, 2019, and

Plaintiff’s Amended Complaint was filed on April 6, 2020, long after Rule 15(a)(1)’s 21-day

filing period had run. See Fed. R. Civ. P. 15(a)(1). (ECF No. 19.) Given that Plaintiff did
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not file a motion for leave to amend and that Plaintiff did not receive Defendant’s written

permission to file its Amended Complaint,1 the Court DENIES Plaintiff leave to file the

Amended Complaint. Plaintiff’s Amended Complaint has no legal effect. See Mathews, 332

F.3d at 296. Any future Amendment must comply with Rule 15(a)(2) and Rule 16(b)(4), as

the deadline for filing motions for leave to amend the pleadings passed on April 6, 2020. 2

1704 Farmington, LLC v. City of Memphis, No. 08-2171-STA, 2019 WL 2065337, at *2

(W.D. Tenn. July 10, 2009) (“[W]here the deadline for a party to amend its pleadings set by a

Rule 16(b) scheduling order has passed, courts will consider the proposed amendments in

light of Rule 16(b).”). (ECF No. 27 at PageID 80.)


        SO ORDERED, this 14th day of April, 2020.

                                                                /s/ Jon P. McCalla
                                                               JON P. McCALLA
                                                               UNITED STATES DISTRICT JUDGE




1
  Plaintiff’s Amended Complaint also does not provide a Certificate of Consultation and thus violates Local Rule
7.2(a)(1)(B).
2
  Although the Scheduling Order indicates that the Deadline for Motions to Amend Pleadings passed on April 5,
2020, that day was a Sunday. See Fed. R. Civ. P. 6(a)(1)(c).

                                                       2
